          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                      CRIMINAL CASE NO. 1:10cr66-1


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                    ORDER
                          )
                          )
RAYMOND DANGELO ALLEN. )
                          )

     THIS MATTER is before the Court on Counsel’s Motion for Interim

Payment [Doc. 234].

     For the reasons stated in the motion, counsel may submit a voucher

for payment prior to the conclusion of the case. The Court, however, will

not authorize an interim payment prior to the submission of the voucher.

     IT IS, THEREFORE, ORDERED that Counsel’s Motion for Interim

Payment [Doc. 234] is GRANTED IN PART and DENIED IN PART.

     IT IS SO ORDERED.

                                      Signed: July 9, 2011




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